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      Fairview Health Services v. Cigna Behavioral Health, Inc., et al.




                  EXHIBIT A
            TO NOTICE OF REMOVAL
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STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF HENNEPIN                                               FOURTH JUDICIAL DISTRICT


Fairview Health Services,                            Court File No.:
                                                     Case Type: Contract
                              Plaintiff,             Judge:

v.
                                                                     SUMMONS
Cigna Behavioral Health, Inc.,
Home Depot, U.S.A., Inc.,
Home Depot Medical and Dental Plan,
Home Depot Welfare Benefits Plan,

                              Defendants.


THIS SUMMONS IS DIRECTED TO THE ABOVE-NAMED DEFENDANTS.

1.       YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The Plaintiff’s
Complaint against you is attached to this Summons. Do not throw these papers away. They are
official papers that affect your rights. You must respond to the lawsuit even though it may not yet
be filed with the Court and there may be no Court file number on this Summons.

2.      YOU MUST REPLY WITHIN 21 DAYS TO PROTECT YOUR RIGHTS. You must
give or mail to the person who signed this Summons a written response called an Answer within
21 days of the date on which you received this Summons. You must send a copy of your Answer
to the person who signed this Summons located at 7650 Edinborough Way, Suite 500, Edina, MN
55435.

3.      YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response to
the Plaintiff’s Complaint. In your Answer you must state whether you agree or disagree with each
paragraph of the Complaint. If you believe the Plaintiff should not be given everything asked for
in the Complaint, you must say so in your Answer.


4.     YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN RESPONSE
TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS SUMMONS. If you do
not answer within 21 days, you will lose this case. You will not get to tell your side of the story,
and the Court may decide against you and award the Plaintiff everything asked for in the
Complaint. If you do not want to contest the claims stated in the Complaint, you do not need to


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respond. A default judgment can then be entered against you for the relief demanded in the
Complaint.

5.      LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
have a lawyer, the Court Administrator may have information about places where you can get legal
assistance. Even if you cannot get legal help, you must still provide a written Answer to
protect your rights or you may lose the case.

6.      ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be ordered to
participate in an alternative dispute resolution process under Rule 114 of the Minnesota General
Rules of Practice. You must still send your written response to the Complaint even if you expect
to use alternative means of resolving this dispute.


Dated: July 8, 2022                         D.S. ERICKSON & ASSOCIATES, PLLC

                                         By /s/ Timothy J. Henkel
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                                           HEALTH SERVICES




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STATE OF MINNESOTA                                                           DISTRICT COURT

COUNTY OF HENNEPIN                                               FOURTH JUDICIAL DISTRICT


Fairview Health Services,                             Court File No.:
                                                      Case Type: Contract
                               Plaintiff,             Judge:

v.
                                                                     COMPLAINT
Cigna Behavioral Health, Inc.,
Home Depot, U.S.A., Inc.,
Home Depot Medical and Dental Plan,
Home Depot Welfare Benefits Plan,

                               Defendants.


         Plaintiff, for its claim against the above-named Defendants, complains and alleges as

follows:

                                             PARTIES

1.       Plaintiff Fairview Health Services (“Fairview”), is a non-profit corporation organized

under Minnesota Statutes Chapter 317A and provides medical, surgical, hospital, sickness, and

other health related services to individuals in the State of Minnesota.

2.       Defendant Cigna Behavioral Health, Inc. (“Cigna”), is a Minnesota registered corporation,

with its principal place of business located at 11095 Viking Drive, Suite 350, Eden Prairie, MN

55344.

3.       Defendant Home Depot U.S.A., Inc. (“HD”) is a Delaware registered corporation with a

principal place of business located at 3455 Paces Ferry Road, Atlanta, GA, 30339-4024.

4.       Defendants Home Depot Medical and Dental Plan, and Home Depot Welfare Benefit Plan

(collectively the “Plan”) are employer-based group health plans maintained by HD for the benefit

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of its employees, with an administrative address of 2455 Paces Ferry Road, Atlanta, GA 30339-

4024.

                                 JURISDICTION AND VENUE

5.      Jurisdiction and venue are proper in Hennepin County District Court pursuant to Minn.

Stat. § 543.19 as Defendants are either located in, or have conducted business in Minnesota to the

extent that the “minimum contacts” standard outlined in International Shoe Co. v. Washington,

326 U.S. 310 (1945) is met, and has committed acts outside of Minnesota causing injury in

Minnesota.

6.      Further, Minnesota has a substantial interest in providing a forum for the adjudication of

this dispute.

7.      Finally, all acts and transactions that have given rise to this action occurred in Hennepin

County.

                                              FACTS

8.      Patient D.R. was a Cigna policy (“Policy”) holder at all times relevant to this action; Policy

ID: xxxx9101, Group ID: xxx7229. Under said Policy, patient D.R. was, again at all times relevant

to this action, a participant and beneficiary under the Policy, and thus “covered” under the same.

9.      Upon information and belief, the Policy was issued to or administrated by Cigna for HD,

the employer of patient D.R., as part of an Employee Retirement Income Security Act, 29 U.S.C.

§ 1001 et. seq. (“ERISA”) based employer group health and welfare benefit Plan.

10.     Upon information and belief, the Plan is an employer and employee self-funded Plan with

Cigna acting as the third-party claim administrator (“TPA”) and agent for the Plan with regard to

claims submitted to the Plan by providers of health care goods and services.


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11.    Patient D.R. received mental health care goods and services from Fairview on April 21,

2019 through May 24, 2019.

12.    Cigna, HD and the Plan accessed Fairview via a negotiated network contract between

Fairview and HealthPartners (“Network Contract”), which calls for reimbursement to Fairview for

mental health care goods and services provided at a set DRG rate.

13.    Despite the mental health care goods and services provided being medically necessary, as

determined by patient D.R.’s treating physicians, Cigna denied payment for a portion of said

services from May 7, 2019 through May 24, 2019 of patient D.R.’s inpatient stay claiming that the

ongoing treatment provided on these days were not medically necessary.

14.     During the course of care there was continuous utilization review occurring with

concurrent review in which Cigna continually approved additional days of inpatient treatment.

15.    During the course of this concurrent review, on May 6, 2019 Cigna informed Fairview that

a peer-to-peer would need to be conducted for the approval of additional days and that Cigna’s

peer review department would be reaching out to Fairview to schedule the same in short order.

16.    Cigna’s peer review department did not call until after hours at 6:48 p.m. CST, informing

Fairview that a peer to peer was due before 9:00 a.m. the following day.

17.    This was stated despite the fact that Cigna earlier told Fairview the peer-to-peer was due

by the end of the day on May 7, 2019.

18.    Cigna refused to provide a direct contact number for the Fairview clinician to call and

instead insisted on setting up the peer-to-peer review on Cigna’s end.

19.    Cigna’s process and conduct for demanding that the peer-to-peer review be completed the

following morning virtually ensured that the deadline would be missed.


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20.    Fairview’s clinical team contacted Cigna peer-to-peer scheduling on May 7, 2019 at 1:20

p.m. CST and asked to speak with a supervisor.

21.    Ultimately, Fairview’s request for a peer-to-peer was denied and no further days were

approved for patient D.R.’s care.

22.    It is Fairview’s position that had a peer-to-peer been conducted and scheduled in good

faith, additional days would have been approved for patient D.R.’s care.

23.    Fairview disputed the denial and made timely appeals to Cigna; however, Cigna, as TPA

and agent for the Plan, continued to uphold the denial.

24.    On July 11, 2019, Cigna sent a letter to patient D.R. and Fairview stating that all internal

appeals had been exhausted and that, if governed by ERISA, any civil action must be commenced

within three (3) years.

25.    In addition to Cigna, HD and the Plan accessing Fairview via the Network Contract, as part

of the process of being admitted to Fairview, patient D.R. assigned to Fairview his right to have

all covered expenses of the treatment provided paid for by Defendants; Fairview then provided

health care goods and services to patient D.R.

26.    Fairview brings this action against Defendants under the Network Contract, and directly as

an assignee and beneficiary of patient D.R.’s rights and causes of action as a participant and

beneficiary under the Plan, to recover the amount due and owing to Fairview for the mental health

care goods and services provided to patient D.R.

27.    There remains an outstanding balance due and owing on the claims submitted to

Defendants in the amount of Eighty-Six Thousand Seven Hundred Seventy Dollars and ninety-

Five Cents ($86,770.95) for the mental health care goods and services provided to patient D.R. by


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Fairview.

28.       Fairview has demanded payment of the unpaid balance from Cigna, but Defendants refuse

to pay.

29.       Defendants’ refusal to pay has forced Fairview to retain the services of D.S. Erickson &

Associates, PLLC and Fairview will incur attorney fees, expenses and costs to recover the amount

due and owing.

                                          CLAIM I
                                     BREACH OF CONTRACT

30.       Fairview incorporates each and every allegation contained in Paragraphs 1-29, inclusive,

with the same force and effect as if fully set forth herein.

31.       Under and through the Network Contract, Defendants accepted the responsibility to timely

and properly pay all claims for the health care goods and services rendered to its insured, patient

D.R., that were covered under the Policy and Plan, including the claims that are the basis of

Fairview’s complaint against Defendants.

32.       Claims for the mental health care goods and services provided to patient D.R. were

properly and timely submitted by Fairview to Cigna for payment.

33.       Defendants are in breach of contract for their failure to pay the claims submitted to them

by Fairview for the mental health care goods and services rendered to patient D.R. in accordance

with the Network Contract.

34.       Moreover, Defendants are in breach of contract under the terms of the Plan, and the benefits

due to patient D.R. under the same, which were assigned to Fairview prior to health care goods

and services being rendered.



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35.    As a result of Defendants’ breach, Fairview has and will incur damages in an amount in

excess of Eighty-Six Thousand Seven Hundred Seventy Dollars and ninety-Five Cents

($86,770.95).

                                CLAIM II
            BREACH OF COVENANT OF GOOD FAITHAND FAIR DEALING

36.    Fairview incorporates each and every allegation contained in Paragraphs 1-35, inclusive,

with the same force and effect as if fully set forth herein.

37.    Defendants’ failure to diligently and timely monitor the claims and payment thereof,

constitutes a breach of the covenant of good faith and fair dealing with respect patient D.R. and

Fairview.

38.    Moreover, Defendant’s conduct in demanding a peer-to-peer review on a schedule that was

unreasonable and virtually ensured that the deadline would be missed, then refusing to schedule a

peer-to-peer after that time that very likely would have led to additional approved days, constitutes

a breach of the covenant of good faith and fair dealing with respect patient D.R. and Fairview.

39.    Defendants’ refusal and failure to pay Fairview for the mental health care goods and

services provided to patient D.R. is an act of bad faith.

40.    As a result of Defendants’ breach, Fairview has and will incur damages in an amount in

excess of Eighty-Six Thousand Seven Hundred Seventy Dollars and ninety-Five Cents

($86,770.95).




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                                   CLAIM III
                  EMPLOYEE RETIREMENT INCOME SECURITY ACT
                             29 U.S.C. § 1001 et. seq.
                             (Pled in the Alternative)

41.    Fairview incorporates each and every allegation contained in Paragraphs 1-40, inclusive,

with the same force and effect as if fully set forth herein.

42.    The Plan is, upon information and belief, part of a health and welfare benefit plan that is

governed by ERISA.

43.    Defendants have failed to comply with the terms of the Plan by failing to make payment to

Fairview of the benefits due under the Plan in accordance with the Network Contract.

44.    Fairview brings this action pursuant to 29 U.S.C. § 1132, as a beneficiary and assignee of

patient D.R.’s health benefits, to enforce the terms of the Plan.

45.    As a result of Defendants’ failure to pay Fairview the benefits due under the Plan in

accordance with the Network Contract, Fairview is entitled to damages pursuant to 29 U.S.C. §

1132(a)(1)(B) in an amount in excess of Eighty-Six Thousand Seven Hundred Seventy Dollars

and ninety-Five Cents ($86,770.95)., plus reasonable attorney’s fees and costs pursuant to 29

U.S.C. § 1132(g)(1), from Defendants.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Fairview prays that judgment be entered against Defendants:

1.     For an award of damages in an amount in an amount in excess of Eighty-Six Thousand

Seven Hundred Seventy Dollars and ninety-Five Cents ($86,770.95), plus any and all pre- and

post-judgment interest pursuant to Defendants’ breach of contract and breach of the covenant of

good faith and fair dealing.

2.     For an award of reasonable attorneys’ fees and costs if applicable.

3.     For such other relief as the Court deems just and equitable.

Dated: July 8, 2022                          D.S. ERICKSON & ASSOCIATES, PLLC

                                           By /s/ Timothy J. Henkel
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                                             ATTORNEYS FOR PLAINTIFF FAIRVIEW
                                             HEALTH SERVICES


                                    ACKNOWLEDGMENT

       The undersigned hereby acknowledges that costs, disbursements, and reasonable attorney

and witness fees may be awarded pursuant to Minn. Stat. 549.211 subdivision 2, to the party

against whom the allegations in this pleading are asserted.

Dated: July 8, 2022                          D.S. ERICKSON & ASSOCIATES, PLLC


                                           By /s/ Timothy J. Henkel
                                             Timothy J. Henkel (#0389403)

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